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                                                02/19/20 Page
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                                                                of537
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Case   2:20-cv-00106-JLB-NPM Document
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                                                02/19/20 Page
                                                         Page25of
                                                                of537
                                                                    PageID 5411
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Case   2:20-cv-00106-JLB-NPM Document
     2:20-cv-00106-SPC-NPM    Document1-2
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                                          Filed02/19/20
                                                02/19/20 Page
                                                         Page36of
                                                                of537
                                                                    PageID 5512
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Case   2:20-cv-00106-JLB-NPM Document
     2:20-cv-00106-SPC-NPM    Document1-2
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                                                         Page47of
                                                                of537
                                                                    PageID 5613
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Case   2:20-cv-00106-JLB-NPM Document
     2:20-cv-00106-SPC-NPM    Document1-2
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                                          Filed02/19/20
                                                02/19/20 Page
                                                         Page58of
                                                                of537
                                                                    PageID 5714
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